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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

MAYA PARIZER, ADIN GESS, NOACH                        )
NEWMAN, NATALIE SANANDAJI, YONI                       )
DILLER, DAVID BROMBERG, LIOR                          )
BAR OR, ARIEL EIN-GAL, and HAGAR                      )
ALMOG,                                                )
                                                      )
       Plaintiffs,                                    )
                                                      )
v.                                                    )       Civil No.
                                                      )
AJP EDUCATIONAL FOUNDATION,                           )
INC. a/k/a AMERICAN MUSLIMS FOR                       )
PALESTINE and NATIONAL STUDENTS                       )
FOR JUSTICE IN PALESTINE,                             )
                                                      )
       Defendants.                                    )

               COMPLAINT FOR DAMAGES AND JURY TRIAL DEMAND

       Plaintiffs Maya Parizer, Adin Gess, Noach Newman, Natalie Sanandaji, Yoni Diller, David

Bromberg, Lior Bar Or (“U.S. Plaintiffs” and with Israeli Plaintiffs, collectively “Plaintiffs”),

Ariel Ein-Gal, and Hagar Almog (collectively, “Israeli Plaintiffs”), sue Defendants AJP

Educational Foundation, Inc. a/k/a American Muslims for Palestine and National Students for

Justice in Palestine (collectively, “Defendants”) and allege as follows:

                                        INTRODUCTION

       When someone tells you they are aiding and abetting terrorists—believe them.

       Hamas is a United States designated Foreign Terrorist Organization (“FTO”) founded in

1987 with the express goal of destroying the State of Israel. To promote that goal, Hamas seeks to

prevent Israel from normalizing relationships with its Arab neighbors. On October 7, 2023, largely

to derail Israel’s normalization talks with Saudi Arabia, Hamas and its affiliates launched a surprise

terrorist attack against Israel, murdering over 1,200 civilians in cold blood and taking more than



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200 people as hostages. To this day, Hamas continues to hold innocent civilians hostage and launch

rockets (more than 6,000 since October 7) at civilian targets.

       Hamas employs unconventional weapons to continue its terrorist attacks, including taking

hostages, using noncombatants as human shields, and spreading lies, propaganda, and chaos

around the world. To that end, within hours of its terror attack, Hamas sent out a global call for its

allies to mobilize and propagate Hamas’s disinformation campaign and instigate chaos through the

West, including the United States. Hamas’s propaganda directed at American audiences is

instrumental to its strategy.

       Defendant AJP Educational Foundation, Inc. a/k/a American Muslims for Palestine

(“AMP”) serves as Hamas’s propaganda division in the United States. AMP was founded from

the ashes of disbanded organizations created by senior Hamas officials after those organizations

and related individuals were found criminally and civilly liable for providing material support to

Hamas and other affiliated terrorist groups. In 2010, AMP expanded its operation to American

college campuses when it founded Defendant National Students for Justice in Palestine (“NSJP”)

to control hundreds of Students for Justice in Palestine (“SJP”) chapters across the country.

Through NSJP, AMP uses propaganda to intimidate, convince, and recruit uninformed, misguided,

and impressionable college students to serve as foot soldiers for Hamas on campus and beyond.

       On October 8, the day after Hamas’s terrorist attack, AMP and NSJP were prepared and

responded to Hamas’s “call for mass mobilization” by disseminating a manifesto and plan of attack

(“NSJP Toolkit”) which includes materials that appear to have been created before the attack. In

the NSJP Toolkit, AMP and NSJP identify themselves as “PART of” a “Unity Intifada,” governed

by Hamas’s “unified command” of terrorist operations in Gaza. As part of Hamas’s movement,

AMP and NSJP state that they seek “liberation,” which they describe as a “real process that




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requires confrontation by any means necessary,” including “armed struggle” and other acts of

violence. “All [resistance] is legitimate, and all of it is necessary.” The plain text of the NSJP

Toolkit confirms that AMP and NSJP do not merely assist Hamas’s ongoing terror campaign

abroad—they perpetuate it in the United States.

       AMP and NSJP enacted the NSJP Toolkit as written and beset their army of college

students on American streets and college campuses. Through threats, violence, and vocal support

for “globalizing” attacks against Jews and anyone who dares to support them, AMP and NSJP

have intentionally instigated a mass culture of fear, threats, violence, and overt hatred to intimidate

politicians and institutions for Hamas’s substantial benefit. As of the filing of this Complaint, AMP

and NSJP are—among other things—coordinating the occupation of dozens of college campuses

across the country to “force” the American government and academia to bend to Hamas’s will.

       There is a legal chasm between independent advocacy and knowingly serving as the

propaganda and recruiting wing of a Foreign Terrorist Organization in the United States. AMP and

NSJP are the latter. They are not innocent advocacy groups, but rather the propaganda arm of a

terrorist organization operating in plain sight.

       Plaintiffs are survivors of Hamas’s October 7 terrorist attack, family members of those

murdered by Hamas, civilians still under fire from Hamas’s ongoing terrorism, and persons

displaced by Hamas’s ongoing terrorism. They have been, and continue to be, injured by AMP

and NSJP’s intentional, systematic, and substantial assistance to Hamas’s acts of international

terrorism. AMP and NSJP are liable for Plaintiffs’ resulting damages.

                                           PLAINTIFFS

       1.      Plaintiff Maya Parizer (“Ms. Parizer”) is a United States citizen. On October 7,

Ms. Parizer and her boyfriend survived Hamas’s terrorist attack at the Nova Festival, fleeing by




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car and dodging Hamas gunfire as they weaved through dead bodies on the roads. Consequently,

Ms. Parizer suffered, and continues to suffer, mental anguish and pain and suffering made worse

by Defendants’ provision of material support to her attackers.

       2.      Plaintiff Adin Gess (“Mr. Gess”) is a United States citizen. On October 7, his home

on Kibbutz Holit was attacked. While Mr. Gess was not home, through a communal WhatsApp

group chat, he witnessed his friends and community members brutally murdered after pleading for

their lives. Mr. Gess was forced to evacuate his property and, because of Hamas’s ongoing

targeting of Israeli civilians, has been unable to return home. Consequently, Mr. Gess lost his

home, belongings, community, and way of life. He also suffered, and continues to suffer, mental

anguish and pain and suffering, made worse by Defendants’ provision of material support to his

attackers.

       3.      Plaintiff Noach Newman (“Mr. Newman”) is a United States citizen. On October

7, Mr. Newman’s brother, David Yair Shalom Newman, also a U.S. citizen, was murdered when

Hamas terrorists stormed the Nova Festival, indiscriminately butchering civilians. Consequently,

Mr. Newman and his family suffered, and continue to suffer, unbearable trauma, mental anguish,

and pain and suffering made worse by Defendants’ provision of material support to his attackers.

       4.      Plaintiff Natalie Sanandaji (“Ms. Sanandaji”) is a United States citizen and

resident. On October 7, Ms. Sanandaji survived Hamas’s attacks at the Nova Festival and, after

fleeing by car and on foot through Hamas gunfire for several hours, miraculously survived.

Consequently, Ms. Sanandaji suffered, and continues to suffer, mental anguish and pain and

suffering, made worse by Defendants’ provision of material support to her attackers.

       5.      Plaintiff Yoni Diller (“Mr. Diller”) is a United States citizen. On October 7, Mr.

Diller survived Hamas’s terrorist attack at the Nova Festival but witnessed the massacre of




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countless festival goers, including four of his close friends. Consequently, Mr. Diller suffered, and

continues to suffer, mental anguish and pain and suffering, made worse by Defendants’ provision

of material support to the very attackers who killed his friends.

       6.      Plaintiff David Bromberg (“Mr. Bromberg”) is a United States citizen. On October

7, Mr. Bromberg survived Hamas’s terrorist attack at the Nova Festival, fleeing and subsequently

hiding in the bushes outside Kibbutz Be’eri for more than twelve hours until he was rescued. Mr.

Bromberg’s friends were murdered, and one is held hostage by Hamas. Consequently, Mr.

Bromberg suffered, and continues to suffer, mental anguish and pain and suffering made worse by

Defendants’ provision of material support to his attackers.

       7.      Plaintiff Lior Bar Or (“Mr. Bar Or”) is a United States citizen. On October 7, Mr.

Bar Or survived Hamas’s terrorist attack at the Nova Festival, evading gunfire and hand grenades

and escaping after Hamas set fire to the shelter he was hiding inside. Four of Mr. Bar Or’s friends

were murdered. Consequently, Mr. Bar Or suffered, and continues to suffer, mental anguish and

pain and suffering made worse by Defendants’ provision of material support to his attackers.

       8.      Plaintiff Ariel Ein-Gal (“Mr. Ein-Gal”) is an Israeli citizen. On October 7, Mr.

Ein-Gal and his friends were asleep on Zikim Beach when they were awoken by Hamas terrorists

infiltrating the Israeli coast. Mr. Ein-Gal was forced to flee under Hamas gunfire and hide for four

hours. When he tried to escape, Hamas terrorists fired dozens of rounds at him, but he narrowly

survived. Consequently, Mr. Ein-Gal suffered mental anguish and pain and suffering, made worse

by Defendants’ provision of material support to his attackers.

       9.      Plaintiff Hagar Almog (“Ms. Almog”) is an Israeli citizen. On October 7, her home

on Kibbutz Holit was attacked. While Ms. Almog and her family were not home, through a

communal WhatsApp group chat, they witnessed their friends and community members brutally




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murdered after pleading for their lives. Ms. Almog was forced to evacuate her property and,

because of Hamas’s ongoing targeting of Israeli civilians, has been unable to return home.

Consequently, Ms. Almog has lost her home, belongings, community, and way of life. She also

suffered, and continues to suffer, mental anguish and pain and suffering, made worse by

Defendants’ provision of material support to her attackers.

                                         DEFENDANTS

       10.     Defendant AJP Educational Foundation, Inc. a/k/a American Muslims for Palestine

(“AMP”) is a 501(c)(3) non-profit corporation incorporated in California with its principal place

of business in Falls Church, Virginia. In a separate action, AMP is accused of being the successor

entity to two organizations currently dodging a judgment exceeding $150 million under the

Antiterrorism Act for providing material support to Hamas.1

       11.     Defendant National Students for Justice in Palestine (“NSJP”) is an unincorporated

association without a formal principal place of business or publicly identified leadership structure.

NSJP was founded by AMP to provide it on-campus management and control of hundreds of

university chapters of Students for Justice in Palestine (“SJP”). AMP controls NSJP and uses it to

operate a propaganda machine for Hamas and its affiliates across American college campuses.

                                 JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1350.

       13.     This Court has personal jurisdiction under 18 U.S.C. §§ 2333(a) and 2334.

       14.     Venue is proper in this Court under 18 U.S.C. § 2334(a) because Defendant AMP’s

principal place of business is in Falls Church, Virginia, within the Eastern District of Virginia.



1
  See First Amended Complaint, Boim v. Am. Muslims for Palestine, No. 1:17-CV-3591 (N.D.
Ill. Dec. 17, 2019), ECF 179 [henceforth, “Boim FAC”]. That matter is ongoing. See also Boim
v. Am. Muslims for Palestine, 9 F.4th 545 (7th Cir. 2021).


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                                  FACTUAL ALLEGATIONS

A.     INTRODUCTION TO HAMAS

       15.     In 1987, after starting the “First Intifada”—a murderous string of terrorist attacks

directed at both innocent civilians and Israeli soldiers alike—the Gaza branch of the International

Muslim Brotherhood splintered into a new terrorist group: Hamas.2 Hamas rejects Israel and the

notion of secular Arab or Palestinian rule. In turn, Hamas advocates, supports, and directly engages

in terrorism as part of its aim to—through “jihad”—destroy Israel and, in its place, install an

Islamic state under Sharia law “from the [Jordan] River to the [Mediterranean] Sea.”3 Hamas was

designated an FTO on October 8, 1997, by the U.S. State Department, and its status was reaffirmed

in 1999 and 2001.4

       16.     Hamas uses Gazan noncombatants as human shields. In Hamas’s eyes, this tactic

results in a win/win scenario: Either Israel sees the risk to noncombatants as too significant and

allows Hamas to engage in ongoing terrorist attacks against Israel’s own civilians, or Israel deems

the risk to its own people too great, and Hamas can accuse Israel of killing noncombatants.5




2
  Kali Robinson, What is Hamas?, COUNCIL ON FOREIGN RELATIONS (last updated Apr. 28,
2024), https://www.cfr.org/backgrounder/what-hamas.
3
  AMERICAN JEWISH COMMITTEE, “FROM THE RIVER TO THE SEA” (last visited Apr. 29, 2024),
https://www.ajc.org/translatehate/From-the-River-to-the-Sea; ANTI-DEFAMATION LEAGUE,
SLOGAN: “FROM THE RIVER TO THE SEA PALESTINE WILL BE FREE” (Oct. 26, 2023),
https://www.adl.org/resources/backgrounder/slogan-river-sea-palestine-will-be-free.
4
  See CRS REPORT FOR CONGRESS, FOREIGN TERRORIST ORGANIZATIONS 27-30 (Feb. 6, 2004),
https://irp.fas.org/crs/RL32223.pdf.
5
  See, e.g., Natalie Ecanow, Hamas Officials Admit its Strategy is to Use Palestinian Civilians as
Human Shields, N.Y. POST (Nov. 1, 2023), https://nypost.com/2023/11/01/opinion/hamas-
officials-admit-its-strategy-is-to-use-palestinian-civilians-as-human-shields/; Michael D. Shear,
U.S. Says Hamas Operates Out of Gaza Hospitals, Endorsing Israel’s Allegations, N.Y. TIMES
(Nov. 14, 2023).


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       17.       Hamas relies on terrorism, propaganda, and falsehoods to demonize Israel and cast

itself and its members as victims of a mythical “settler-colonial” oppressor image of Israel and the

Jewish people.

       18.       Today, Hamas is funded in large part and trained and controlled by the Islamic

Republic of Iran’s Islamic Revolutionary Guard Corps (“IRGC”), another FTO. Hamas and the

IRGC share the common goal of destroying Israel and the United States. The IRGC directly

enabled Hamas’s October 7 terrorist attack by funding, training, and equipping Hamas and

Palestine Islamic Jihad and by assisting in the preparation and organizing of the attacks.6

B.     THE ORIGINAL MATERIAL SUPPORT ENTERPRISE7

       19.       The Muslim Brotherhood founded the “Palestine Committee” in 1988 as a terrorist

funding enterprise for Hamas in the United States.8 The Palestine Committee was a small network

of organizations controlled by activists with no regard or care for corporate form or legal

requirements.

       20.       One goal of the Palestine Committee’s network of pro-Hamas organizations was to

derail normalization between Israel and the Arab world. For example, following the Oslo Accords,

Israel’s landmark peace deal with the Palestinian Liberation Organization in 1993, the Palestine




6
  Matthew Levitt, The Hamas-Iran Relationship, THE WASHINGTON INSTITUTE FOR NEAR EAST
POLICY (Nov. 2023), https://www.washingtoninstitute.org/policy-analysis/hamas-iran-relationship; Summer
Said et al., Iran Helped Plot Attack on Israel Over Several Weeks, WALL ST. J. (Oct. 8, 2023),
https://www.wsj.com/world/middle-east/iran-israel-hamas-strike-planning-bbe07b25.
7
  Unless otherwise stated, many of the allegations in this section are related to the allegations in
Boim FAC, supra note 1, which the Seventh Circuit has already concluded states a plausible and
actionable claim for relief based on the theory that AMP is an alter ego for the original material
support enterprise described below. See Boim v. Am. Muslims for Palestine, 9 F.4th 545 (7th Cir.
2021).
8
  Lorenzo Vidino, The Hamas Networks in America: A Short History, GW PROGRAM ON
EXTREMISM, at 5, 7–8 (Oct. 2023),
https://extremism.gwu.edu/sites/g/files/zaxdzs5746/files/2023-10/hamas-networks-final.pdf.


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Committee held a summit in Philadelphia, Pennsylvania. At the summit, the Palestine Committee

strategized how best to disrupt Israel’s peace efforts, provide political force to Hamas and its

sympathizers, and assure Hamas that its allies in the United States would assist Hamas on several

fronts, including the “financial, information[al], [and] political.”9

       21.     The Palestine Committee consisted of several organizations. The most relevant

here are the Holy Land Foundation for Relief and Development (“HLF”), the Islamic Association

for Palestine (“IAP”), and IAP’s many alter egos, including the American Muslim Society

(“AMS”). HLF served as Hamas’s fundraising arm in the United States. IAP’s “primary function

was to serve as the public voice of Hamas in the United States.”10 AMS was originally incorporated

as a separate organization, but merged with IAP and operated as one of its many alter egos.11

       22.     HLF and IAP were both founded and controlled by members of Hamas’s senior

leadership. For example, IAP was founded by Khaled Mashal (“Mashal”), the former head of

Hamas’s Political Bureau until 2017 and current leader of Hamas’s diaspora office. IAP also was

heavily financed by Mousa abu Marzook (a/k/a Abu Omar, Abu Umar, Abu Rizq) (“Marzook”),

a “Specially Designated Global Terrorist.”12 Mr. Mashal described IAP as one of the “first pillars”

of Hamas’s terrorist organization.13




9
  Boim FAC, supra note 1, at ¶ 38.
10
   MATTHEW LEVITT, HAMAS: POLITICS, CHARITY, AND TERRORISM IN THE SERVICE OF JIHAD 151
(2006).
11
   See, e.g., Am. Muslims for Palestine, 9 F.4th at 548 (recognizing, as several courts have
previously determined before, that IAP “also went by the name ‘American Muslim Society’”).
12
   OFFICE OF FOREIGN ASSET CONTROL, SANCTIONS LIST SEARCH: MOUSA ABU MARZOOK A/K/A
ABU OMAR, ABU UMAR, ABU RIZQ), https://sanctionssearch.ofac.treas.gov/Details.aspx?id=3754.
13
   Boim FAC, supra note 1, at ¶ 28; see also Garry M. Servold, The Muslim Brotherhood and
Islamic Radicalism, in KNOW THY ENEMY: PROFILES OF ADVERSARY LEADERS AND THEIR
STRATEGIC CULTURES 61–62 (Barry R. Schneider & Jerrold M. Post eds., 2003),
https://www.airuniversity.af.edu/Portals/10/CSDS/Books/knowthyenemy3.pdf.


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       23.     HLF and IAP were not simply founded by Hamas and left to their own devices.

Instead, they actively fundraised for Hamas and directly collaborated with them on public relations

strategies to promote Hamas’s efforts. HLF, IAP, and their affiliate organizations were ultimately

discovered: their complicity in Hamas’s terror regime was exposed, and they (and related

individuals) were found criminally and civilly liable for their actions.

       24.     In 2001, the United States Office of Foreign Asset Control designated HLF a

“Specially Designated Global Terrorist.”14 In 2008, HLF and five of its leaders were convicted of

providing material support to Hamas. The five leaders were then sentenced to prison.15

       25.     In December 2004, after IAP and AMS were found civilly liable for providing

material support to Hamas through their propaganda efforts, IAP (and AMS as its alter ego)

dissolved.16

       26.     This pattern repeated itself over and over. For example, KindHearts for Charitable

Humanitarian Development, Inc. (“KindHearts”), an organization founded by Hamas and the

Muslim Brotherhood, also was disbanded following a settlement agreement with the U.S. Treasury

Department because it provided material support to Hamas.

C.     AMP AND ITS ALTER EGOS: THE REBRANDED MATERIAL SUPPORT ENTERPRISE

       27.     Shortly after the original material support enterprise for Hamas—including IAP,

HLF, and KindHearts—was exposed and many of its organizations were shut down, its architects

worked to resurrect the enterprise in a way that would more effectively hide their actions. In 2006,




14
   OFFICE OF FOREIGN ASSET CONTROL, SANCTIONS LIST SEARCH: HOLY LAND FOUNDATION FOR
RELIEF AND DEVELOPMENT, https://sanctionssearch.ofac.treas.gov/Details.aspx?id=7116.
15
   See Press Release, U.S. Dep’t of Justice, Federal Judge Hands Down Sentences in Holy Land
Foundation Case (Mar. 27, 2009), https://www.justice.gov/opa/pr/federal-judge-hands-downs-
sentences-holy-land-foundation-case.
16
   See Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685, 701 (7th Cir. 2008).


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several of the original enterprise’s key members founded AMP to fill the gap left by the loss of

IAP. That is, to—once again—provide Hamas with an effective propaganda arm in the United

States.

          28.   There is “significant overlap between AMP and people who worked for or on behalf

of organizations that were designated, dissolved, or held civilly liable by federal authorities for

supporting Hamas.”17 Indeed, six members of AMP’s core leadership were IAP board members or

active in HLF and/or IAP, two are family members of IAP board members, and one was a frequent

collaborator and fundraiser for IAP and KindHearts.18 Many of its staff are similarly “leftovers”

from that enterprise.

          29.   AMP’s founding and current chairman is Hatem Bazian (“Bazian”). As an

undergraduate, Mr. Bazian was a member of two Muslim Brotherhood-affiliated organizations,

the General Union of Palestine Studies (“GUPS”) and the Muslim Students Association (“MSA”).

Then, as a professor at the University of California at Berkeley, he founded the first chapter of

Students for Justice in Palestine (“SJP”).19 Mr. Bazian created SJP in the image of GUPS and

MSA. Mr. Bazian frequently collaborated with IAP and fundraised for KindHearts.



17
   Israel Imperiled: Threats to the Jewish State: Joint Hearing before the Subcomm. on
Terrorism, Nonproliferation, and Trade & the Subcomm. on the Middle East and North Africa,
114 Cong. 156 (2016) (Statement of Jonathan Schanzer) [henceforth, “Schanzer 2016
Congressional Testimony”],
https://docs.house.gov/meetings/FA/FA18/20160419/104817/HHRG-114-FA18-Wstate-
SchanzerJ-20160419.pdf?ref=stanfordreview.org.
18
   From Ivory Towers to Dark Corners: Investigating the Nexus between Antisemitism, Tax-
Exempt Universities, and Terror Financing: Hearing before the House Committee on Ways and
Means, 118 Cong. (2023) [henceforth, “Schanzer 2023 Congressional Testimony”],
https://gop-waysandmeans.house.gov/wp-content/uploads/2023/11/Schanzer-Testimony.pdf;
Schanzer 2016 Congressional Testimony, at 8; see also Boim FAC, supra note 1, at ¶ 78.
19
   Eitan Fischberger, The Long Mark of Radicalization, CITY JOURNAL (Oct. 16, 2023),
https://www.city-journal.org/article/the-long-march-of-radicalization; Daniel Mael, On Many
Campuses, Hate is Spelled SJP, THE TOWER (Oct. 2014), https://www.thetower.org/article/on-
many-campuses-hate-is-spelled-sjp/.


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       30.     In some ways, AMP, unlike the prior iteration of the material support enterprise, is

more careful when following the corporate form and attempting to evade legal guardrails. For

example, at its 2014 annual conference, AMP hosted a discussion on “navigat[ing] the fine line

between legal activism and material support for terrorism.”20 But whatever attempts AMP made

in the past to hide its actions have, as described below, been abandoned and replaced with openly

providing propaganda services for Hamas.

       31.     Simply put, AMP is a reincarnation of IAP and AMS and continues to operate with

the same core people and endeavors to achieve the same goal: acting as Hamas’s propaganda

division in the United States.

       32.     As indicated above, there is a difference between independent advocacy and

providing substantial assistance to a foreign terrorist organization. “[A] person of ordinary

intelligence would understand that independently advocating for a cause is different from

providing a service to a group that is advocating for that cause.”21 AMP and its various brands fall

squarely on the wrong side of that distinction.

               i.      AJP: The “Fiscal Sponsor”

       33.     Today, though AMP ostensibly operates as its own organization, it uses the

corporate status of its fiscal sponsor, AJP Educational Foundation, Inc. (“AJP”).22 AMP founded

AJP in 2008. AMP and AJP have identical leadership structures and share the same principal place

of business in Falls Church, Virginia. AMP’s website advertises that it is funded exclusively by




20
   Schanzer 2016 Congressional Testimony, supra note 17, at 8.
21
   Holder v. Humanitarian Law Project, 561 U.S. 1, 24 (2010).
22
   In addition to obtaining revenue from AJP, AMP also received Paycheck Protection Plan loans
from the United States government. See AMERICAN MUSLIMS FOR PALESTINE, 2020 ANNUAL
REPORT, at 18, https://www.ampalestine.org/educate/publications/2020-annual-report.


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domestic donations, but, upon information and belief, AMP can do so only because funds first pass

through AJP, a U.S.-based non-profit.

       34.     Indeed, AMP is now regarded as a “doing business as” name for AJP by the

Commonwealth of Virginia which, in October 2023, began to investigate “AJP Education

Foundation, Inc., also known as American Muslims for Palestine” for “potential violations of

Virginia’s charitable solicitation laws,” including “benefitting or providing support to terrorist

organizations” (emphasis added).23

               ii.     NSJP: Controlling Campus Advocacy

       35.     In 2010, AMP sponsored the first SJP National Convention to unite the various SJP

chapters. At the convention, AMP announced the creation of NSJP—AMP’s new on-campus sub-

brand—designed to control the management, financing, and messaging of SJP chapters across the

country.24 Though some SJP chapters chose to remain unaffiliated on paper, upon information and

belief, they receive aid and materials from NSJP, particularly as it relates to campus messaging.

       36.     NSJP has no formal corporate structure of its own but operates as AMP’s college

campus brand. AMP maintains organizational management and control of NSJP. To that end, in

2023, NSJP established a centralized structure to exert more control over individual SJP chapters.25



23
   See News Release, Jason Miyares, Attorney General of Virginia, Attorney General’s Office
Opens Investigation Into American Muslims for Palestine Nonprofit (Oct. 31, 2023) [henceforth,
“VA Investigation”], https://www.oag.state.va.us/media-center/news-releases/2630-october-31-
2023-attorney-generals-office-opens-investigation-into-american-muslims-for-palestine-
nonprofit.
24
   Charles Asher Small et al., Antisemitism Violent Extremism and the Threat to North American
Universities: The Contextualization of the National Students for Justice in Palestine, INSTITUTE
FOR THE STUDY OF GLOBAL ANTISEMITISM AND POLICY, at 12 (Oct. 2019) [henceforth, “ISGAP
2019”], https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
Version.pdf.
25
   You Cannot Profit Off Our People’s Blood and Think Students Will Not Come For Your
Money, HAMMER & HOPE (Spring 2024), https://hammerandhope.org/article/palestine-college-
students.


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          37.    NSJP’s official “fiscal sponsor” is Westchester People’s Action Committee Fund

(“WESPAC”), a New York-based non-profit organization. As a fiscal sponsor, WESPAC receives

and administers donations on behalf of groups such as NSJP. WESPAC then keeps a percentage

of the donations and remits the rest to the groups that it fiscally sponsors. This arrangement enables

NSJP to collect and distribute funds without transparency. The financial interactions between

WESPAC and its anti-Israel clientele is intentionally opaque to largely shield from public view

the flow of funds between and among them.

          38.    NSJP, through its leadership and recruited grassroots supporters, has regularly (1)

identified itself as a supporter of, and sometimes even part of, Hamas and its affiliates’ movement;

(2) disseminated instructions from Hamas and other FTOs; (3) hosted speakers that are Specially

Designated Global Terrorists or affiliated with them; and (4) provided direct aid to the same.

          39.    AMP’s message to college campuses through NSJP is unambiguous: violent attacks

are a justified response to Zionism as an idea, to Israel as an entity, and to Zionists as people.26

The purpose of this messaging is not only to justify the terrorism of Hamas and its affiliates in

Gaza within Western academia and society at large but also to establish an environment where

violence against Jews and anyone else associated with Israel could be construed as acceptable,

justified, or even heroic.

                 iii.    AMP Provides Systematic and Ongoing Material Support to Hamas

          40.    Defendants provide ongoing, continuous, systematic, and material support for

Hamas and its affiliates in precisely the same way that HLF and IAP used to: by operating and

managing Hamas’s mouthpiece for North America, dedicated to sanitizing Hamas’s atrocities and

normalizing its terrorism.



26
     See, e.g., ISGAP 2019, supra note 24, at 11.


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        41.     There is no indication Defendants ever ceased providing material support to Hamas

and its affiliates—even in the transition period between IAP and AMP—and there is no reason to

believe that Defendants have suddenly stopped engaging in the same conduct they have publicly

acknowledged. It is within this complex framework of shell institutions that Defendants provide

Hamas with necessary substantial and systematic assistance for Hamas’s ongoing terrorist activity.

D.      HAMAS’S TERRORIST ATTACK

        42.     On October 7, 2023, Hamas, in coordination with the IRGC, led a terrorist attack

in southern Israel in which 1,200 Israelis, Americans, and others were killed, and over 200 more

were taken as hostages into Gaza.27 Hamas was joined in its barbarity by several other FTOs,

including the Popular Front for the Liberation of Palestine (“PFLP”), another FTO. Hamas and its

affiliates tortured, butchered, raped, and murdered innocent men, women, and children—including

dozens of U.S. citizens—at a music festival, as well as in their homes. The attack included a

barrage of over 2,200 missiles shot from Gaza into Israel.28 Over 6,900 people were injured in the

attacks.29

        43.     Hamas’s attack did not end on October 7. Not only has Hamas, at all relevant times,

continued to hold civilians hostage—including Plaintiffs’ friends and family members—but it also

continues to launch thousands of rockets at civilian targets, forcing many—including Plaintiffs—

to fear for their lives, evacuate their homes, and seek the safety of bomb shelters.




27
   Aaron Boxman, Israel-Hamas War Israel Lowers Oct. 7 Death Toll Estimate to 1,200, N.Y.
TIMES (updated Nov. 30, 2023), https://www.nytimes.com/live/2023/11/10/world/israel-hamas-war-gaza-news.
28
   Bill Hutchinson, Israel-Hamas War: Timeline and key developments, ABC NEWS (Nov. 22,
2023), https://abcnews.go.com/International/timeline-surprise-rocket-attack-hamas-
israel/story?id=103816006.
29
   Id.


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        44.   October 7 marked the deadliest day for the Jewish people since the Holocaust.

Plaintiffs were among the many victims that suffered, and continued to suffer, at Hamas’s hand:

              a.      Mr. Gess and Ms. Almog lived in Kibbutz Holit. Mr. Gess and Ms. Almog
                      witnessed the murders of their friends and community members and were
                      forced to evacuate their homes. They cannot return to their homes. They
                      lost their homes, belongings, community, and way of life.

              b.      Mr. Ein-Gal and his friends was ambushed by Hamas on a beach and fled
                      under heavy Hamas fire.

              c.      Mr. Newman lost his brother, David, when Hamas terrorists breached the
                      Nova Festival and savagely slaughtered him.

              d.      Ms. Parizer and Ms. Sanandaji attended Nova Festival, which they
                      miraculously survived. On October 7, they witnessed the massacre of
                      hundreds of attendees and fled by car and on foot under Hamas gunfire.

              e.      Mr. Diller and Mr. Bar Or also attended the Nova Festival and managed to
                      survive by hiding for several hours. Both witnessed the slaughter of fellow
                      festival goers on October 7, and many of their friends were murdered.

              f.      Mr. Bromberg attended the Nova Festival and, like Mr. Diller and Mr. Bar
                      Or, witnessed the slaughter of hundreds and lost many friends on October
                      7. One of his friends is still being held hostage by Hamas.

        45.   Plaintiffs’ lives have been completely upended by Hamas’s continuous terrorist

activities.

        46.   Hamas’s ongoing wave of terror has a familiar purpose consistent with Hamas’s

modus operandi: derailing Israel’s prospects for peace with its Arab neighbors. Hamas and its

puppet master, the IRGC, are threatened by the success of the Abraham Accords—a landmark

peace deal that facilitated normalization between Israel and several Arab states—and saw that

Israel intended to broker peace with a major Arab power and enemy of the IRGC: Saudi Arabia.

Hamas admits it is motivated by a desire to prevent normalization, explaining that its attack




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“landed a blow to the normalization [of relations between Israel and its Arab neighbors]. What

happened before will not be the same after this operation. This was one of the operation’s goals.”30

E.     HAMAS TERROR-BY-PROPAGANDA STRATEGY

       47.     Hamas’s strategy vis-à-vis Israel relies on propaganda and lies to influence public

opinion and justify its horrendous actions. Article 29 of Hamas’s Charter makes this strategy

explicit, calling on its supporters to provide Hamas:

       with strategic depth in all human material and informative spheres, in time and in
       place. This should be done through the convening of solidarity conferences, the
       issuing of explanatory bulletins, favourable articles and booklets, enlightening the
       masses regarding the Palestinian issue, clarifying what confronts it and the
       conspiracies woven around it. They should mobilize the Islamic nations,
       ideologically, educationally and culturally, so that these peoples would be equipped
       to perform their role in the decisive battle of liberation, just as they did when they
       vanquished the Crusaders and the Tatars and saved human civilization. 31

Hamas has issued express guidelines detailing how its propagandists should “play their part in

strengthening the home front and in properly conveying information worldwide.”32

       48.     Hamas’s strategy is to commit a terrorist attack against civilians and then use

Israel’s retaliatory or defensive response as a springboard to, through Defendants and others,

launch objectively false propaganda and terrorize institutions to sway global public opinion against

Israel and toward Hamas. Hamas’s propaganda campaigns regularly include—among a laundry

list of other common lies—misrepresentative death tolls (often conflating combatant and civilian




30
   Velina Tchakarova (@vtchakarova), X (formerly Twitter) (Oct. 21, 2023, 7:36 AM),
https://x.com/vtchakarova/status/1715693654197579867.
31
   HAMAS, THE COVENANT OF THE ISLAMIC RESISTANCE MOVEMENT (Aug. 18, 1988),
https://avalon.law.yale.edu/20th_century/hamas.asp.
32
   IDF Editorial Team, Hamas Social Media Rules: Describe Terrorists as Innocent Civilians,
ISRAEL DEFENSE FORCES (July 21, 2014), https://www.idf.il/en/mini-sites/the-hamas-terrorist-
organization/hamas-social-media-rules-describe-terrorists-as-innocent-civilians/.


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death tolls) and objectively false accusations that Israel is an “apartheid state” engaged in a

genocide campaign against Palestinians.33

       49.     Hamas’s terror-by-propaganda strategy “transcends conventional warfare tactics,

aiming to exploit the international community’s response to civilian casualties, generate global

condemnation of Israel, hamstring the IDF’s operations, and protect Hamas’s military capabilities

under the guise of civilian safety.”34

       50.     In other words, Hamas’s strategy is mainly designed to achieve victory through

propaganda and brainwashing.

       [W]ithin hours of its attack on October 7th, Hamas’ Qatar-based politburo web
       operatives flipped the switch on a slickly produced global social media
       disinformation campaign calculated to trigger an outpouring of pro-
       Palestinian/anti-Israel sentiment across global social media platforms to amplify
       (and justify) Hamas’ terror.

       The initial disinformation flood was in Arabic directed at Arab social media sites
       to create sympathy for Hamas for its “defense” of Jerusalem’s Muslim holy places
       and its “justified” struggle to free Palestinian prisoners jailed in Israel. But its
       second phase unleashed tens of thousands of fake disinfo[rmation] bots in other
       languages to push the Hamas anti-Israel/antisemitic narrative.35

The disinformation bots primarily pushed the narrative that Hamas’s terrorist attack, specifically

its hostage-taking, was justified. Hamas conducted the first wave of its propaganda through servers




33
   It is widely known, for example, that approximately 2 million Muslims live in Israel, and
nearly all are citizens or permanent residents. See, e.g., Kali Robinson, What to Know About the
Arab Citizens of Israel, COUNCIL ON FOREIGN RELATIONS (Oct. 26, 2023),
https://www.cfr.org/backgrounder/what-know-about-arab-citizens-israel.
34
   Joshua Klein, Exclusive: Renown Urban Warfare Expert John Spencer Warns ‘World Playing
Into Hamas’s Strategy’, BREITBART (Apr. 1, 2024),
https://www.breitbart.com/politics/2024/04/01/exclusive-renown-urban-warfare-expert-john-
spencer-warns-world-playing-hamass-strategy/.
35
   COALITION FOR A SAFER WEB, THE HAMAS “INFLUENCER” INTIFADA (NOV. 16, 2023)
[henceforth, “CSW Report”], https://coalitionsw.org/the-hamas-influencer-intifada/.


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in Pakistan, Qatar, and Iran.36 The second wave was handled on Hamas’s behalf by Hamas’s PR

foot soldiers in the West: AMP, NSJP, and their allies.

        51.       In short, Hamas relies on its propagandists around the world to do its bidding,

spreading its falsehoods about Israel and the Jews far and wide, and to instigate a culture of

violence and fear to sway global institutions to behave in Hamas’s favor. Global propaganda,

particularly directed at the West and the United States, is not just one small part of Hamas’s broader

strategy: it is Hamas’s grand strategy.

F.      HAMAS’S OCTOBER 7TH CALL TO ACTION

        52.       Within hours of Hamas’s October 7 attack, Hamas leader Ismail Haniyeh called for

Hamas’s “resistance abroad” to “join this battle any way they can.” He also stated, “[l]et us be

partners in creating this great victory, inshallah.”37 Three days later, Mr. Mashal—the leader of

Hamas’s diaspora office and founder of IAP—called on Hamas’s global supporters to be “part of

this battle.”38

G.      DEFENDANTS ANSWER THE CALL

        53.       Within hours of the attack, the language of the Hamas-authored disinformation

campaign appeared in NSJP propaganda across social media and on college campuses. Exactly as

AMP intended, NSJP acted as Hamas’s loyal foot soldiers for Hamas’s propaganda battle on




36
   CSW Report.
37
   Al-Jazeera Airs Hamas Leader Ismail Haniyeh’s Statement On Hamas’s Invasion Of Southern
Israel: I Call On Palestinians In The West Bank, Israeli Arabs, And The Entire Nation Abroad
To Join The Battle; To The Enemy I Say: Get Out Of Our Land!, MEMRI TV (Oct. 7, 2023),
https://www.memri.org/tv/hamas-leader-ismail-haniyeh-statement-jazeera-operation-aqsa-
deluge-palestinains-west-bank-israel-abroad-join-battle.
38
   Former Hamas Leader Khaled Mashal Calls For ‘Friday Of The Al-Aqsa Flood’: Muslims
Should Take To The Streets Worldwide, Join The Battle; The West, America, Zionists Will See
Convoys Of Mujahideen On Their Way To Palestine, MEMRI TV (Oct. 10, 2023),
https://www.memri.org/tv/fmr-hamas-leader-calls-muslims-world-join-battle-palestine.


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university campuses across the United States. The next day, NSJP released its Day of Resistance

Toolkit (“NSJP Toolkit”) across more than 300 American college campuses and on the internet.39

       54.     The NSJP Toolkit uses the euphemism “the resistance” and similar phrases to refer

to Hamas:

       Referred to as Operation Towfan Al-Aqsa (Al-Aqsa Flood), the resistance has taken
       occupation soldiers hostage, fired thousands of rockets, taken over Israeli military
       vehicles, and gained control over illegal Israeli settlements. In the West Bank, the
       Palestinian resistance has called for collective action by the Palestinian masses
       amidst attempts by the Zionist entity to lock-up the West Bank.

       …

       Today, we witness a historic win for the Palestinian resistance: across land, air, and
       sea, our people have broken down the artificial barriers of the Zionist entity . . . As
       the Palestinian student movement, we have an unshakable responsibility to join the
       call for mass mobilization.40

       55.     There is no ambiguity as to what the NSJP Toolkit means when it uses “the

resistance” and similar phrases. The acts the NSJP Toolkit attributes here and elsewhere to “the

resistance” are acts by Hamas.

       56.     The NSJP Toolkit is a direct response to Hamas’s “call for mass mobilization”

issued the day prior. In it, NSJP demands its members and allies “not only support, but struggle

alongside our people back home … and above all normalize and support our fearless

resistance.”41 To do so, the NSJP Toolkit puts forth a strategy to “normalize the resistance,”

Hamas, by arguing that

       Liberation is not an abstract concept. . . . [L]iberating colonized land is a real
       process that requires confrontation by any means necessary. In essence,
       decolonization is a call to action . . . It calls upon us to engage in meaningful actions
       that go beyond symbolism and rhetoric. Resistance comes in all forms—armed



39
    The NSJP Toolkit is attached as Exhibit A.
40
   Id. at 1.
41
    Id.


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       struggle, general strikes, and popular demonstrations. All of it is legitimate, and all
       of it is necessary. (emphases added) 42

       57.     The NSJP Toolkit thus compels Defendants, their members, and their allies to

provide “real” support to Hamas not only through their arguments and rhetoric, but also through

“confrontation” that includes, among other things, “armed struggle” and violence.

       58.     In a section titled “Unity Intifada”, the NSJP Toolkit explains that:

       the resistance fighters are still launching new attacks into 48 … The revolution is
       being waged across historic Palestine—not just cross-factional, but unifying our
       people in the name of resistance. All Palestinian factions in Gaza appear to be
       participating under unified command. This is the first time since 1949 that a large-
       scale battle has been fought within ‘48 Palestine.43

       59.     Immediately after describing the Unity Intifada, NSJP confirmed it was “PART of

this movement, not in solidarity with this movement.”44 Again, only Hamas operates a “unified

command” in Gaza. There is no ambiguity: Defendants identify themselves as not just aligned with

Hamas’s terrorist activities, but “PART of” them.

       60.     The NSJP Toolkit was distributed to prepare and organize a “Day of Resistance” to

support Hamas’s terrorist activities. NSJP intentionally avoids acknowledging Hamas’s most

despicable crimes—the rape, kidnap, and the slaughter of innocent civilians—and simply declares

that “[s]ettlers are not ‘civilians’” and therefore can be murdered in cold blood.45

       61.     The NSJP Toolkit further provides graphics and advertisements for SJP Chapters

and allies to use that includes images of paragliders, which references how Hamas infiltrated the




42
   Id. at 4; see also Sheera Frenkel and Steven Lee Myers, Antisemitic and Anti-Muslim Hate
Surges Across the Internet, N.Y. TIMES (Nov. 15, 2023),
https://www.nytimes.com/2023/11/15/technology/hate-speech-israel-gaza-internet.html.
43
   Id.
44
   Id.
45
   Id at 3.


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Nova Festival.46 Neither Hamas, nor any other terrorist organization, had ever used paragliders to

commit a terrorist attack until October 7—just one day before NSJP provided the graphic.

       62.      The NSJP Toolkit further requests member organizations endorse the “Towfan Al-

Aqsa Statement”47 from “Bears for Palestine”—NSJP’s University of California at Berkeley

chapter. The statement, analogous to the NSJP Toolkit, declares its “unwavering support of the

resistance in Gaza and the broader occupied Palestinian lands” and encourages Hamas and its

affiliates to continue killing and taking hostages.48 Many of Defendants’ affiliates signed the

Towfan Al-Aqsa Statement, which declares “[w]e honor Palestinians who are working on the

ground on several axes of the so-called ‘Gaza envelope’ alongside our comrades in blood and

arms, and what is coming is greater. Victory or martyrdom.”

       63.      The “comrades in blood and arms” are FTOs operating as part of the “Unity

Intifada” under Hamas’s “united command.” In fact, the “comrades in blood in arms” language is

lifted directly from an FTO-affiliated Telegram chat called Resistance News Network.49 As

illustrated in the Telegram chat, that phrase was first used by the Martyr Abu Ali Mustafa Brigade

of the PFLP on October 7, 2023, to refer to Hamas terrorists. The next line declares, “We stand

with our brothers in the Al-Qassam Brigades50 and with all the resistance forces, and we merge

with them in this battle that will be recorded in history.”

              i.       Defendants’ Violence and Terror on American College Campuses

       64.      The NSJP Toolkit is not a rhetorical tool. It is an instruction manual.




46
   Id. at 5.
47
   The Bears for Palestine statement shares its name with Hamas’s name for its terrorist attack:
Towfan Al-Aqsa, which means “Al-Aqsa Flood.”
48
   The “Towfan Al-Aqsa Statement” is attached as Exhibit B.
49
   The Resistance News Network Telegram Chat is attached as Exhibit C.
50
   The Al-Qassam Brigades are Hamas’s military wing.


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        65.     The NSJP Toolkit directed Defendants’ members and allies “to engage in

meaningful actions that go beyond symbolism and rhetoric” to include all potential forms of

resistance, including “armed struggle” and violence.

        66.     Hamas itself echoed those same calls. For example, on December 5, 2023, in an

interview on Al-Aqsa TV (Hamas-Gaza), a senior Hamas official, Sami Abu Zahri, called on

Hamas’s allies in the United States to engage in domestic terrorism to support Hamas’s terrorist

activities.51

        67.     Defendants’ encouragement of its members, affiliates, and allies to join the

“resistance”—again, a euphemism for Hamas itself—is not mere speech or advocacy. Rather,

Defendants encouraged their members to exert political pressure on American institutions and

politicians, in service of Hamas’s goals. The chaotic images emerging from American campuses

are the intended result of Defendants’ endeavors.

        68.     In short, Defendants act as Hamas’s public relations division and recruit

domestic foot soldiers not only to disseminate Hamas’s propaganda but also to foment violence,

chaos, and fear across the United States to intimidate citizens and coerce change in American

policy. This is all in support Hamas’s short and long-term goals for its international terrorist

activities.52

        69.     Just as the NSJP Toolkit demanded, Defendants “normalize[d]” Hamas by

sanitizing its actions and spreading falsehoods about Israel. For example, Defendants and their




51
   Hamas Senior Official Sami Abu Zuhri Calls For Violence Against American And British
Interests Worldwide; Adds: Blinken Is An Enemy, Just Like Netanyahu; Both Will Pay The Price,
MEMRI TV (Dec. 13, 2023), https://www.memri.org/reports/hamas-senior-official-sami-abu-
zuhri-calls-violence-against-american-and-british-interests.
52
   FEDERAL BUREAU OF INVESTIGATION, TERRORISM, https://www.fbi.gov/investigate/terrorism
(last visited Apr. 29, 2024).


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members tore down posters identifying hostages, claimed verifiable allegations of rampant sexual

assault and sadistic murder were Zionist conspiracy theories, and falsely accused Israel of

genocide.

       70.     Defendants upheld their commitment in the NSJP Toolkit to treat “liberation” as

something “beyond symbolism and rhetoric” that is secured through “confrontation by any means

necessary.”53 Defendants’ members and allies responded to this command by engaging in illegal

acts of domestic terrorism—including trespass, assault, vandalism, robbery, destruction of

property, harassment, and intimidation—to further the “resistance” efforts.

       71.     Defendants organized “Day of Resistance” riots and protests for many SJP

chapters, including chapters at Columbia University, Arizona State University, University of North

Carolina, George Mason University, University of California-San Diego, and elsewhere on

October 12, 2023, to coincide with Hamas’s proclaimed “Day of Rage” for its supporters in Gaza

and the West Bank on October 13, 2023 (which would be late in the evening on October 12, 2023,

in many parts of the United States).54

       72.     In the days, weeks, and months following October 7, many SJP events were violent

affairs aimed at normalizing Hamas’s rhetoric, terrorizing students, and forwarding the

“resistance.” For example:

               a.     University of North Carolina: The UNC SJP rally on October 12, 2023,
                      was advertised using materials taken directly from the NSJP Toolkit,
                      including flyers showing images of paragliders. SJP members threateningly
                      brandished knives at Jewish students and instructed their members to wear


53
   NSJP Toolkit, supra note 39, at 4.
54
   David Swindle, Students for Justice in Palestine chapters launch pro-terror rallies across US,
JEWISH NEWS SYNDICATE (Oct. 13, 2023), https://www.jns.org/students-for-justice-in-palestine-
chapters-launch-pro-terror-rallies-across-america/; Aaron Bandler, Roundup of SJP Chapters’
“Day of Resistance” Protests, JEWISH J. (Oct. 18, 2023),
https://jewishjournal.com/uncategorized/364002/roundup-of-sjp-chapters-day-of-resistance-
protests/.


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                        masks in violation of the North Carolina anti-mask law.55 The coordinators,
                        just as the NSJP Toolkit instructs, sought to normalize Hamas’s terrorist
                        activities and instigated violence against, among others, a Jewish
                        professor.56 UNC SJP did exactly what the NSJP Toolkit asked them to do:
                        it committed unlawful violent acts to assist Hamas’s goals—which include
                        terrorizing Jews and normalizing Hamas’s atrocities.

                b.      Harvard University: On October 18, 2023, members of the Harvard
                        College Palestine Solidarity Committee, a recognized NSJP affiliate, hosted
                        an event at which they physically assaulted and harassed a Jewish student
                        on campus.57

                c.      Cooper Union: On October 25, 2023, the Cooper Union SJP chapter hosted
                        an event which included an angry mob that held innocent Jewish students
                        hostage in the library58 in violation of N.Y. Penal Law § 135.10 (unlawful
                        imprisonment in the first degree). While Cooper Union chose not to press
                        charges, the SJP affiliate did exactly what the NSJP Toolkit asked it to do:
                        the chapter arranged a public event and committed unlawful acts to
                        “Globalize the Intifada.”59


55
   See Peter Reitzes, UNC Student Group and Professor Celebrate Hamas Murder of Israelis;
Where Is the Outrage?, THE ALGEMEINER (Oct. 16, 2023),
https://www.algemeiner.com/2023/10/16/unc-student-group-and-professor-celebrate-hamas-
murder-of-israelis-where-is-the-outrage/. See also N.C. Stat. § 14-12.8. North Carolina’s anti-
mask law was directed at preventing the Ku Klux Klan from operating and engaging in terrorist
activity with anonymity. Sierra Pfeifer, UNC Asks Pro-Palestine Protesters To Stop Wearing
Masks, Citing 1953 Anti-KKK Law, CHAPELBORO (Apr. 19, 2024),
https://chapelboro.com/news/unc/unc-asks-pro-palestine-protesters-to-stop-wearing-masks-
citing-1953-anti-kkk-law.
56
   Chelsea Donovan, Sides Clash as UNC-Chapel Hill Protest Between Pro-Palestine and Pro-
Israel Groups Turns Heated; WRAL News (Oct. 12, 2023), https://www.wral.com/story/sides-
clash-as-unc-chapel-hill-protest-between-pro-palestine-pro-israel-groups-turns-
heated/21093642/; Reitzes, supra note 55. See also Exhibit A at 5.
57
   Washington Free Beacon Staff, Israeli Harvard Business School Student Accosted and
Harassed Amid Gaza ‘Die-In’ on Campus, WASH. FREE BEACON (Oct. 21, 2023),
https://freebeacon.com/campus/israeli-harvard-business-school-student-accosted-and-harassed-
amid-gaza-die-in-on-campus/.
58
   Louis Keene, Jewish students at Cooper Union told to hide as pro-Palestinian protesters
banged on doors of locked library, THE FORWARD (Oct. 25, 2023), https://forward.com/fast-
forward/566967/cooper-union-library-jewish-students-hide-protest/.
59
   The First and Second Intifadas were tragic periods in Israeli history in which Palestinian
terrorists crossed into Israel to commit terror attacks against Israeli civilians at bus stops, hotels,
restaurants, and other civilian centers. Thousands of Israelis died or were injured. See AJC,
WHAT DOES “GLOBALIZE THE INTIFADA” MEAN AND HOW CAN IT LEAD TO TARGETING JEWS
WITH VIOLENCE? (Dec. 4, 2023), https://www.ajc.org/news/what-does-globalize-the-intifada-
mean-and-how-can-it-lead-to-targeting-jews-with-violence.


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              d.     Brandeis University: On November 6, 2023, Brandeis University
                     withdrew its recognition of its SJP chapter after, among other things, its
                     members made explicit threats against the Hillel Rabbi for opposing the
                     group’s open support for Hamas in an email he sent to the Brandeis Jewish
                     community. Law enforcement was so concerned that the Hillel Rabbi was
                     assigned personal security the day SJP scheduled a vigil for the “martyrs of
                     Gaza.”60 In banning Brandeis SJP, Brandeis University President Ron
                     Liebowitz stated that his “decision was made because SJP openly supports
                     Hamas, which the United States has designated as a Foreign Terrorist
                     Organization,” and because it “call[s] for the violent elimination of Israel
                     and the Jewish people.”61

              e.     University of Chicago: On November 9, 2023, members of the University
                     of Chicago United for Palestine chapter unlawfully took over a building and
                     were arrested and charged with “criminal trespass to real property,”
                     typically a Class B misdemeanor under Illinois law. The charges were
                     eventually dropped, and the judge released them with a warning, explaining
                     that they were allowed to have only peaceful, lawful protests. In response,
                     the group, along with Defendant NSJP, posted the judge’s statement on their
                     respective Instagram accounts, announcing, “WE REJECT THIS.”62

              f.     Columbia University: On November 10, 2023, Columbia University
                     suspended its chapter of SJP for, among other things, “threatening rhetoric
                     and intimidation.”63 As of the filing of this complaint, the chapter remains
                     suspended, as it refuses to agree to follow University policies in exchange
                     for reinstatement. It has, however, continued to hold unsanctioned events,
                     including co-hosting a panel with actual terrorists and a member of the
                     NSJP Steering committee that explicitly asked students to support Hamas.

              g.     Arizona State University: On November 14, 2023, police were called
                     when Arizona State University SJP members threw rocks at the windows of
                     an ongoing student government meeting at which Jewish students were


60
   See Rabbi Seth Winberg, I’m a rabbi at Brandeis. Its decision voiding recognition for its
Students for Justice in Palestine chapter was the right move, THE FORWARD (Nov. 4, 2023),
https://forward.com/opinion/569676/brandeis-hillel-students-for-justice-palestine/.
61
   Letter from Ron Liebowitz, President of Brandeis University, to the Brandeis University
Community (Nov. 8, 2023), https://www.brandeis.edu/president/letters/2023-11-08-free-speech-
not-hate-speech.html.
62
   UChicago United for Palestine (@uchicagounited) & National SJP (@nationalsjp),
INSTAGRAM,
https://www.instagram.com/p/C1F6uo7LAYA/?utm_source=ig_embed&ig_rid=5869493b-54eb-
4205-9646-eb126c132180&img_index=1 (last visited Apr. 29, 2024).
63
   Statement from Gerald Rosberg, Chair of the Special Committee on Campus Safety,
COLUMBIA NEWS (Nov. 20, 2023), https://news.columbia.edu/news/statement-gerald-rosberg-
chair-special-committee-campus-safety.


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                          speaking, while chanting “Intifada, Intifada.”64 Police had to escort the
                          Jewish students to safety.65

                 h.       University of Michigan: On November 17, 2023, SJP members at the
                          University of Michigan broke into an administrative building and injured
                          two police officers. Forty people were arrested.66

                 i.       Temple University: On December 3, 2023, Temple University’s SJP
                          chapter, in a mob-like fashion, descended upon Goldie’s, a falafel restaurant
                          owned by an Israeli Jew, screaming, “Goldie, Goldie, you can’t hide, we
                          charge you with genocide.”67 The mob then vandalized the windows of the
                          restaurant.68 The U.S. Department of Education has since opened an
                          investigation into Temple University based on allegations of antisemitism,
                          in part stemming from SJP’s behavior outside of Goldie’s, as well as the
                          group’s repeated chants for “intifada” and “from the river to the sea.”69

                 j.       Rutgers University: On December 12, 2023, Rutgers University suspended
                          its SJP chapter for unlawful behaviors including, among other things,
                          vandalism, noting that the administration had “a reasonable basis to
                          conclude that the continued activities by the student organization pose a
                          substantial and immediate threat to the safety and well-being of others.”70

                 k.       University of California at Berkeley: On February 26, 2024, Bears for
                          Palestine stormed an event where an IDF Reservist was scheduled to deliver


64
   KTAR.com Staff, ASU police investigates disruption at student government meeting after
rocks thrown, KTAR NEWS (Nov. 16, 2023), https://ktar.com/story/5549125/asu-police-
investigates-disruption-at-student-government-meeting-after-rocks-thrown/.
65
   Maggie Kelly, Police escort Jewish students from ASU meeting after rocks thrown, COLLEGE
FIX (Nov. 15, 2023), https://www.thecollegefix.com/police-escort-jewish-students-from-asu-
meeting-after-rocks-thrown/.
66
   Rose White, 40 pro-Palestinian protesters arrested at University of Michigan, MLIVE (Nov.
18, 2023), https://www.mlive.com/news/ann-arbor/2023/11/40-pro-palestinian-protesters-arrested-at-university-of-
michigan.html.
67
   Emily Scolnick, Pro-Palestinian supporters rally against war in Gaza as Penn investigates
graffiti along march route, THE DAILY PENNSYLVANIAN (Dec. 4, 2023),
https://www.thedp.com/article/2023/12/penn-protest-rally-palestine-gaza-uc-townhomes.
68
   Ben Clerkin, Antisemitic mob targets Jewish falafel restaurant in Philadelphia, JEWISH
CHRONICLE (Dec. 4, 2023), https://www.thejc.com/news/usa/antisemitic-mob-targets-jewish-
falafel-restaurant-in-philadelphia-g3xe630y.
69
   Adam Sabes, Dept of Ed opens investigation into Temple University over anti-Semitic
incidents, CAMPUS REFORM (Jan. 16, 2024), https://www.campusreform.org/article/exclusive-
dept-of-ed-opens-investigation-into-temple-university-over-anti-semitic-incidents/24656.
70
   Andrew Lapin, Rutgers suspends Students for Justice in Palestine for violating university
policies, TIMES OF ISRAEL (Dec. 13. 2023), https://www.timesofisrael.com/rutgers-suspends-
students-for-justice-in-palestine-for-violating-university-policies/.


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                      a lecture on international law.71 Prior to the event, Bears for Palestine had
                      posted on its social media that it would “SHUT IT [the event] DOWN.”72
                      When the location was changed in response to mounting protests, Bears for
                      Palestine blasted the location change on its social media, directing
                      protesters to go to the new location.73 The members blocked the venue,
                      smashed the windows, and physically attacked several Jewish students in
                      attendance.74 One student reported being choked by rioters.75 Police are
                      investigating the batteries as hate crimes.76

              l.      Emory University: On April 2, 2024, Emory’s SJP Chapter descended
                      upon Emory’s Chabad House with Palestinian flags and signs in response
                      to Chabad hosting an IDF Reservist commander for dinner and a talk. One
                      Jewish student holding an Israeli flag was punched in the stomach and spit
                      on by a protester, while his flag was taken from him.77

              m.      California State Polytechnic University-Humboldt (“Cal Poly-
                      Humboldt”): As of April 26, 2024, Cal Poly-Humboldt is “closed” for the
                      remainder of the semester because several buildings on campus are
                      “occupied” by pro-Palestinian protestors.78 NSJP has praised the student
                      protests.79



71
   Salvador Hernandez, Pro-Palestinian protesters shut down event organized by Pro-Israel
student groups at UC Berkeley, L.A. TIMES (Feb. 27, 2024),
https://www.latimes.com/california/story/2024-02-27/pro-palestinian-protesters-shut-down-
event-organized-by-jewish-students-at-uc-berkeley.
72
   Bears for Palestine (@bears for Palestine), INSTAGRAM,
https://www.instagram.com/p/C3ytamHJyIg/?img_index=1 (last visited April 29, 2024).
73
   See Hernandez, supra note 71.
74
   Aaron Bandler, UC Berkeley Jewish Student Says She Was Choked By Pro-Palestinian
Protesters Who Shut Down Israeli Lecture, JEWISH JOURNAL (Feb. 27, 2024),
https://jewishjournal.com/news/368623/jewish-student-says-she-was-choked-at-uc-berkeley-pro-
palestinian-protest/.
75
   Id.
76
   Alex Baker, Hate crime investigation launched in connection to protest over Israeli speaker at
UC Berkeley, KRON4 (Mar. 4, 2024), https://www.kron4.com/news/bay-area/hate-crime-
investigation-launched-in-connection-to-protest-over-israeli-speaker-at-uc-
berkeley/#:~:text=The%20UC%20Berkeley%20Police%20Department,additional%20allegation
%20of%20physical%20battery.
77
   Jack Rutherford & Clement Lee, Student ‘assaulted’ at protest outside Chabad, Emory Wheel
(Apr. 3, 2024), https://emorywheel.com/student-assaulted-at-protest-outside-chabad/.
78
   California State Polytechnic University-Humboldt, Emergency: Campus Access, Resources,
and Support, https://www.humboldt.edu/emergency (last visited April 28, 2024).
79
   National SJP (@NationalSJP), X (formerly Twitter) (Apr. 27, 2024),
https://x.com/nationalsjp/status/1784418921585529246?s=61&t=SPDhL2DW4PEZOadUv3Lpl
Q.


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       73.     With the goal of substantially assisting Hamas, Defendants enacted the NSJP

Toolkit to incite their followers to join the “Unity Intifada” and support Hamas’s efforts “by any

means necessary,” including by sowing chaos, fear, and terror throughout the United States.

             ii.       Defendants Continue Their Systematic and Material Support for Hamas

       74.     Defendants continue to provide crucial ongoing public relations services to Hamas

to generate support for its ongoing terrorism. As a sanctioned FTO, Hamas is prohibited from

hiring an American public relations firm. Defendants fill this critical gap by providing invaluable

communication services that Hamas cannot receive or pay for elsewhere in the United States.

       75.     Defendants do not just parrot Hamas’s talking points. Indeed, Hamas has regularly

adopted Defendants’ propaganda language and framing. For example, by October 2023, Hamas’s

Political Bureau, in English, expressly adopted NSJP’s position that not only hostage taking, but

“everything we do, it is justified.”80 By November, Hamas had also begun mirroring NSJP’s

message that “settlers are not civilians,” stating, “any person occupying [our] land is a combatant,

not a civilian. . . . All the settlers in the Gaza Envelope are armed, so they are all combatants.” 81

In January 2024, Hamas issued a document in English bearing the title “Our Narrative—Operation

Al-Aqsa Flood.” Aside from the fact that the 16-page document echoes the NSJP toolkit in a

number of significant ways—particularly the repeated usage of the term “resistance”—the cover




80
   MEMRI Reports (@MEMRIReports), X (formerly Twitter) (Nov. 1, 2023),
https://twitter.com/MEMRIReports/status/1719662664090075199 (media interview with senior
Hamas member and spokesperson Ghazi Hamad).
81
   Hamas Official Ayman Shanaa: The Zionists Are Carrying Out A 'Blatant Attack On Civilians'
– They Must Be Stopped; On October 7 We Exercised Our 'Legitimate Right' To Liberate Our
Land And We Are Willing To Pay The Price, MEMRI TV, https://www.memri.org/tv/zionists-
attack-civilians-stopped-october-seven-legitimate-right-liberate-pay-price.


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of the propaganda book features an image very similar to one of the images provided by NSJP in

the NSJP Toolkit for use by its chapters and affiliates.82

       76.     Further, Defendants consistently respond to Hamas and its allies’ calls for mass

protests and support. Indeed, Defendants seem to almost always answer the calls from Hamas, and

Hamas, in turn, continues to express its organizational appreciation:

               a.      On October 30, 2023, Hamas, the PFLP, and several other FTOs made clear
                       that they were, and intended to continue being, engaged in an ongoing terror
                       campaign, calling for the “masses of our people throughout occupied
                       Palestine to escalate all forms of resistance and struggle against the Zionist
                       enemy, targeting its soldiers and settlers.”83 At the same time, they
                       addressed their supporters abroad and called for “the free people of the
                       world to continue their movements to stop the American-Zionist
                       aggression.”84 The next day, NSJP responded by advertising a “Week of
                       Action for Gaza.”85

               b.      On November 4, 2023, both AMP and NSJP co-sponsored the National
                       March on Washington: Free Palestine in Washington D.C.86 The next day,
                       the PFLP called for its supporters “to continue the unprecedented mass
                       mobilizations in the capitals and cities of the world, especially in the United
                       States, Britain, France and Berlin … These have proven their effectiveness
                       and strong impact, and what we are witnessing of changes in the official
                       Western discourse indicates the strength and impact of this pressure and
                       confirms that we are facing important transformations in public opinion.”87


82
   See Exhibit D; see also Hamas Media Office, Our Narrative … Operation Al-Aqsa Flood
(Jan. 21, 2024), https://www.palestinechronicle.com/wp-content/uploads/2024/01/PDF.pdf.
83
   Democratic Front for the Liberation of Palestine, Hamas (Islamic Resistance Movement),
Palestinian Islamic Jihad, Popular Front for the Liberation of Palestine, and Popular Front for the
Liberation of Palestine – General Command, Palestinian joint statement: ‘Escalate all forms of
resistance,’ INTERNATIONAL ACTION CENTER, https://iacenter.org/2023/10/31/palestinian-joint-
statement-escalate-all-forms-of-resistance/.
84
   Id.
85
   National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/p/CzENKGiLKdO/?img_index=1 (last visited Apr. 29, 2024).
86
   March on Washington for Gaza, https://march4gaza.org/; see also National SJP
(@nationalsjp), INSTAGRAM, https://www.instagram.com/p/CzJpfK4rrgg/ (last visited Apr. 29,
2024).
87
   Popular Front for the Liberation of Palestine, Popular Front for the Liberation of Palestine:
‘We are on the threshold of achieving a historic victory,’ INTERNATIONAL ACTION CENTER
(released on Nov. 5, 2024), https://iacenter.org/2023/11/10/popular-front-for-the-liberation-of-
palestine-we-are-on-the-threshold-of-achieving-a-historic-victory/.


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                      That same day, NSJP happily obliged and announced its next event, a Shut
                      it Down for Palestine campaign, scheduled for November 9, 2023.88

              c.      On November 9, 2023, Hamas, in an announcement on its Telegram
                      channel, renewed its call for people to protest in its name and to “escalate
                      their demonstrations” to put pressure on the U.S. government. That day,
                      NSJP held a nationwide “Shut It Down for Palestine” event and announced
                      a training session for how to build new SJP chapters.89

              d.      On November 12, 2023, Osama Hamdan, a member of Hamas’s Political
                      Bureau, gave a press conference in Beirut, Lebanon, that was aired on Al-
                      Jazeera Network (Qatar), in which he said that “we salute and thank” the
                      people protesting on behalf of Hamas because “the activity of the angry
                      masses on all the continents of the world is a very important matter that has
                      a large impact in pressuring the decision-makers in the world.” He urged
                      them to “increase their activity.”90 The next day, NSJP announced another
                      Shut It Down for Palestine event to be scheduled on November 17, 2023,
                      and released a new toolkit to help their chapters mobilize.91

              e.      On November 22, 2023, Hamas extended its “thanks and appreciation” to
                      its supporters abroad and called on them to continue “activating
                      demonstrations in all capitals, in front of embassies and by activating
                      economic boycotts.” That day, AMP responded by advertising and
                      encouraging its members to sign up for AMP’s training session known as
                      “Campus Activism Track,” a special intense workshop for indoctrinating
                      new followers, complete with financial incentives for attendance.92

              f.      On November 28, 2023, Hamas extended “sincere greetings and great
                      appreciation” to their supporters abroad, “who continue their activism and
                      events in rejection of the aggression and genocide against our people.”
                      Hamas “call[ed] on [Defendants] to increase their movement, interaction,

88
   The People’s Forum (@peoplesforumnyc) & National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/p/CzRnaL9gYCb/?img_index=1 (last visited Apr. 29, 2024).
89
   National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/p/CzKGAE3pezX/?img_index=1;
https://www.instagram.com/p/CzcbFIHMBGq/ (last visited Apr. 30, 2024).
90
   Hamas Official Osama Hamdan: Israel Is A Threat To Humanity, A Neo-Nazi, Sadistic, Racist
Entity; I Call On All The Free People Of The World To Increase Their Activity In Solidarity With
Palestinians, MEMRI TV (Nov. 12, 2023), https://www.memri.org/tv/hamas-official-osama-
hamdan-calls-people-world-increase-solidarity-gaza-israel-neo-nazi-sadistic-threat-humanity.
91
   National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/p/CznH6uDNqhl/?igsh=MzRlODBiNWFlZA%3D%3D (last visited Apr. 29,
2024).
92
   Palestine Convention, Campus Activism Track (CAT),
https://www.palestineconvention.org/cat/ (last visited Apr. 30, 2024); Campus Activism Track
(@cat_amp), INSTAGRAM, https://www.instagram.com/cat__amp/ (last visited Apr. 30, 2024).


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                       solidarity, and support by all possible means, on this day and the coming
                       days.”93 The next day, NSJP announced an “International Day of Solidarity
                       with the Palestinian People” urging more demonstrations and more
                       “demands on your campuses, in your workplaces, and in your
                       communities.”94 The day after that, NSJP announced another training on
                       how to build new SJP chapters in order to “expand [its] efforts in this critical
                       moment, and pressure our institutions.”95

                g.     On December 7, 2023, Hamas (in a statement on its Telegram channel)
                       urged its supporters in “all cities, capitals and squares” to “escalate their
                       global mass movement.”96 Two days later, Defendant NSJP organized a
                       “Shut it Down! For Palestine” event.97

                h.     On December 10, 2023, Hamas announced that “We commend the global
                       movement advocating for a comprehensive strike, tomorrow, Monday,
                       December 11, 2023. We invite all the free people of the world to participate
                       widely in it…We also call for the continuation and escalation of all forms
                       of mass marches and public demonstrations, in cities, capitals, and squares
                       around the world, condemning the American support…”98 That day, NSJP
                       posted a call for its followers to participate in a Global Strike for Palestine
                       on December 11, 2023—just like Hamas had asked them to.99

             iii.      Strike4Gaza: The IRGC’s Blockade in the United States

       77.      Defendants are just as responsive to Hamas’s puppet masters, the IRGC. In March

2024, the IRGC internally disseminated a secret memorandum titled “Supporting and Encouraging



93
   Hamas, Hamas’s Message to World Movement: ‘Increase Interaction, Solidarity, by All
Possible Means’, WORKERS WORLD (Nov. 29, 2023), https://www.workers.org/2023/11/75252/.
94
   National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/p/C0PuWfjuPTv/?igsh=MzRlODBiNWFlZA== (last visited Apr.
29, 2024).
95
   National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/p/C0SUic1ufhb/?igsh=MzRlODBiNWFlZA== (last visited Apr. 29,
2024).
96
   Mario Nawfal (@MarioNawfal), X (formerly Twitter) (Dec. 8, 2023)
https://twitter.com/MarioNawfal/status/1733044753954906154.
97
   National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/p/C0oocwmg22h/?igsh=MzRlODBiNWFlZA==
(last visited May 1, 2024).
98
   Hamas, Monday, Dec. 11 global #StrikeForGaza, INTERNATIONAL ACTION CENTER (Dec. 10,
2023), https://iacenter.org/2023/12/10/monday-dec-11-global-strikeforgaza/.
99
   National SJP (@nationalsjp), INSTAGRAM,
https://www.instagram.com/nationalsjp/p/C0sKjv1O0o-/ (last visited Apr. 29,2024).


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Palestinian Movements towards the Political Isolation of Zionism” that called for “an economic

blockade across four continents in solidarity with Palestinians” to take place on April 15, 2024.100

        78.    The memorandum leaked on the day of the planned blockade.

        79.    Before the leak, Hamas and the IRGC’s subordinates received their marching

orders and were prepared to carry out the IRGC’s intended attack on American infrastructure and

economy. Metadata confirms that websites dedicated to organizing and supporting the IRGC’s

terrorist blockade were purchased and created weeks prior to the blockade, meaning Defendants’

“Strike4Gaza” planning and propaganda materials were disseminated before the IRGC’s

memorandum was leaked.101

        80.    Local AMP and SJP chapters across the United States parroted the “Strike4Gaza”

materials and made identical calls for mass disruption of American infrastructure on April 15,

2024.

        81.    On April 15, 2024, “Strike4Gaza” protests erupted across American cities and, just

as the IRGC called for, created an “economic blockade” disrupting American economic and

transportation centers, such as the Golden Gate Bridge, the Brooklyn Bridge, Chicago-O’Hare

International Airport, and the New York Stock Exchange. Again, Defendants attacked—and

recruited others to attack—American citizens, institutions, and systems to foment a culture of fear

to, with the aid of the IRGC, provide material support to Hamas.

        82.    Defendants did so at the behest of Hamas and the IRGC.




100
    See Exhibit E; see also Leaked Document Reveals IRGC’s Role in Global Anti-Israel
Campaign, IRAN INT’L NEWS (Apr. 15, 2024), https://www.iranintl.com/en/202404158853.
101
    See Exhibit F.


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             iv.          Chaos at Columbia and the “Popular University”

       83.         Despite NSJP’s chapter being “suspended” from Columbia University in

November 2023, Defendants have been particularly successful at fomenting terror, sowing discord,

and disrupting campus life at Columbia University.

       84.         On April 17, 2024, students and external collaborators launched a “Gaza Solidarity

Encampment” (“Encampment”) that illegally camped on Columbia University’s campus and

disrupted university activities.102 The Encampment began the same day that senior Columbia

University administrators were scheduled to speak before the U.S. House of Representatives about

the ongoing antisemitism problem on their campus.

       85.         The Encampment was, consistent with Hamas and the IRGC’s propaganda and

disruption, meant (1) to force Columbia University to capitulate to their demands to operate with

impunity without the same expectations of conduct demanded of all other students; (2) to apply

political pressure on elite American institutions and on Congress to influence U.S. government

policy, demonize Israel and support Hamas; and (3) to terrorize Jewish students. It is worth noting

that Hamas seeks the destruction of the entirety of global Jewry.

       86.         The Encampment was well-supplied with identical tents, toiletries, food, and

professional signage. The Encampment was organized by, among others, “Columbia University




102
   Yale University’s SJP Chapter established its own “encampment” during which one Jewish
student, the editor-in-chief of the Yale Free Press, was stabbed in the eye with a Palestinian flag
by a protester. According to reports, “she and a friend were signaled out for wearing Hasidic
Jewish attire as the crowd formed a blockade around them to interfere with their filming.” The
victim subsequently sought medical attention. Ronny Reyes, Jewish Yale Student Journalist
Stabbed in the Eye with Palestinian Flag During Protest, NEW YORK POST (Apr. 21, 2024),
https://nypost.com/2024/04/21/us-news/jewish-yale-student-stabbed-in-the-eye-with-palestinian-
flag-during-protest/.


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Apartheid Divest, Students for Justice in Palestine, and Jewish Voice for Peace,”103 to aid and abet

Hamas and IRGC through the disruption of major American academic institutions until their

demands were met.

       87.     On April 18, 2024, “[o]ut of an abundance of concern for the safety of Columbia’s

campus, [Columbia’s President] authorized the New York Police Department to begin clearing the

Encampment.” The NYPD arrested more than 100 collaborators, including non-students, at the

Encampment.104

       88.     Meanwhile, calls for the indiscriminate and intentional murder of civilians

continued outside the gates of the university. One masked Hamas supporter, draped in a Palestinian

flag, shouted, “Never forget the 7th of October! Are you ready? 7th of October is about to be every

day. Every day. 7th of October is going to be every day for you.”105

       89.     The next day, on April 19, NSJP posted:

       TO ALL CHAPTERS: THIS IS A CALL TO ACTION!

       Our universities have chosen profit and reputation over the lives of the people of
       Palestine and the will of their students. [Columbia] President Minouche Shafik’s
       cowardly testimony to Congress heralds an unfortunate shift: university
       administrators have capitulated to the pressure of the Zionist lobby and allied Right
       Wing, selling out the Student Movement for Palestinian liberation to save face in
       the eye of the state.

       We know, however, that the supposed power of these administrators pales in
       comparison to the combined strength of the students, staff, and faculty committed
       to realizing justice and upholding Palestinian liberation on campus. In the footsteps


103
    Kanishka Singh, Over 100 pro-Palestinian protesters arrested from New York’s Columbia
campus, REUTERS (Apr. 19, 2024), https://www.reuters.com/world/us/over-100-pro-palestinian-
protesters-arrested-new-yorks-columbia-campus-2024-04-19/.
104
    Dion Pierre, Ilhan Omar Silent After Daughter’s Arrest, Suspension for Role in Columbia
University Anti-Israel Protest, THE ALGEMEINER (Apr. 19, 2024)
https://www.algemeiner.com/2024/04/19/ilhan-omar-silent-daughters-arrest-suspension-role-
columbia-university-anti-israel-protest/.
105
    Michael Starr, ‘October 7 is about to be every day’: Columbia rally sees Hamas support,
JERUSALEM POST (Apr. 21, 2024), https://www.jpost.com/diaspora/antisemitism/article-798049.


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       of our comrades at Rutgers-New Brunswick SJP, Tufts SJP, and now Columbia
       SJP, we call on all SJPs across the nation to take back the university and force the
       administration to divest for the people of Gaza!

       BE READY FOR AN INTERNAL CALL FOR IMMEDIATE NEXT ACTION
       ITEMS! REPOST ON YOUR SOCIALS TO CIRCULATE THIS NATIONAL
       CALL TO ACTION.106

       90.    Recall, when NSJP refers to “liberation,” is not referring to an “abstract concept”

but a demand to join the Unity Intifada “by any means necessary,” including physical violence.

       91.    A video posted by Columbia Sundial editor-in-chief Jonas Du of the area outside

the gates of Columbia University on April 19, 2024, features one man in a red keffiyeh shouting,

“Remember the 7th of October! That will happen not one more time, not five more times, not 10

more times, not 100 more times, not 1000 more times, but 10,000 times!”107

       92.    The next day, activities at the Encampment continued to escalate.

       93.    The Encampment—organized, funded, and managed by Defendants—knew its

efforts were expressly being taken to support Hamas.

       94.    Chants at the Encampment included:

              a.      “Al-Qassam, you make us proud!”

              b.      “We say justice, you say how? Burn Tel Aviv to the ground!”

              c.      “Hamas, we love you. We support your rockets, too!”

              d.      “Red, black, green, and white, we support Hamas’ fight!”

              e.      “A right to rebel, Al-Qassam, give them hell!”

              f.      “It is right to rebel, Hamas give them hell!”




106
    National SJP (@nationalsjp), Instagram,
https://www.instagram.com/p/C580sAZONce/?igsh=MzRlODBiNWFlZA%3D%3D (last visited
Apr. 29, 2024).
107
    Starr, supra note 105.


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       95.    One member of the Encampment identified Jews on Columbia’s campus as “Al-

Qassam’s Next Target.”

       96.    One video from the Encampment shows a mob throwing a bottle at the head of a

Jewish student while the mob swarms him and screams: “Zionist!” “Genocidal Maniac!” “You’ve

got blood on your hands!” “Fuck you!” “Genocidal Freaks!” “Bye, bye fuckers!”

       97.    Leaders of the Encampment further declared that it was

       the Al-Aqsa Flood [the October 7 terrorist attack] that put the Global Intifada back
       on the table again. And it is the sacrificial spirit of the Palestinian Freedom Fights
       [Hamas] that will guide every struggle on every corner of the earth to victory. . . .
       Remember that Militancy breeds Resistance. Thousands upon thousands of
       students around the world have been moved to rebel because of your militancy.108

       98.    Defendants’ efforts to terrorize Jews have been successful in forcing Jews to flee

campus. In response to the chaos and violence orchestrated and fomented by Defendants, Hillel’s

Rabbi Eli Buechler, the Director of Orthodox Union-Jewish Learning Initiative on Campus at

Columbia/Barnard, sent the following message to Jewish students:

       Dear [Student],

       What we are witnessing in and around campus is terrible and tragic. The events of
       the last few days, especially last night, have made it clear that Columbia
       University’s Public Safety and the NYPD cannot guarantee Jewish students’ safety
       in the face of extreme antisemitism and anarchy.

       It deeply pains me to say that I would strongly recommend you return home as soon
       as possible and remain home until the reality in and around campus has dramatically
       improved.

       It is not our job as Jews to ensure our own safety on campus. No one should
       have to endure this level of hatred, let alone at school.

       If you need assistance, please reach out to me.

       May we see better days on campus soon.

108
   Michael Starr, ‘Burn Tel Aviv to the Ground:’ Calls for Violence Continue at Columbia, THE
JERUSALEM POST (Apr. 21, 2024), https://www.jpost.com/diaspora/antisemitism/article-
798160#google_vignette.


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        Chag Kasher vSameach,
        Rav Eli Buechler
        Director OU-JLIC at Columbia/Barnard

        99.     Some Jewish students at Columbia recognized the danger they faced and requested

the ability to study and attend class remotely.109

        100.    NSJP also expressed an intent to bring this terror regime to all campuses across the

country through a new program: Popular University for Gaza. On April 20, 2024, NSJP stated:

        WE ARE ALL SJP! Our universities have chosen profit and reputation over the
        lives of the Palestine and our will as students. The supposed power of our
        administrators is nothing compared the strength of the united students, staff, and
        faculty committed to realizing justice and upholding Palestinian liberation on
        campus. In the footsteps of our comrades, at Rutgers-New Brunswick SJP, Tufts
        SJP, and now Columbia SJP, we will seize our universities and force the
        administration to divest, for the people of Gaza! Join the Popular University, take
        back our institutions!110

        101.    As of the drafting of this Complaint, Defendants’ actions at Columbia continue to

escalate. For example, on April 29, 2024, Defendants’ mob seized Hamilton Hall, barricading the

doors, blocking entrances, smashing windows, and zip-tying the doors shut.111

        102.    Defendants’ tactics are designed to bend American institutions and government

policy to their will.

        103.    Just as they said they would, Defendants replicated their efforts that allowed them

to provide significant substantial assistance to promote Hamas’s aims at Columbia. They have




109
    Cayla Bamberger, Jewish students at Columbia University ask to study remotely as pro-
Palestinian demonstrations continue, N.Y. DAILY NEWS (Apr. 19, 2024),
https://www.nydailynews.com/2024/04/19/students-at-columbia-university-continue-pro-
palestinian-demonstration-day-after-mass-arrests/.
110
    National SJP (@nationalsjp), INSTAGRAM, https://www.instagram.com/p/C5_GEIWuo0D/.
111
    Aviva Klompas (@AvivaKlompas), X (formerly Twitter) (Apr. 30, 2024),
https://twitter.com/AvivaKlompas/status/1785266759366226128.


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taken their substantial assistance to universities across the country. The list of schools with

participating “encampments” grows daily.

H.     HAMAS AND         ITS   ALLIES PUBLICLY RECOGNIZE DEFENDANTS’ SUBSTANTIAL
       ASSISTANCE

       104.    On October 29, 2023, Hamas applauded and celebrated “the masses who

demonstrated in American cities and Western capitals in solidarity with Gaza.”112 Many of those

demonstrations were orchestrated and coordinated, in whole or in part, by Defendants. In that same

statement, Hamas also called on its followers, including Defendants, to “continue their movement

in solidarity with the Gaza Strip and in support of the justice of our national cause, and to escalate

all forms of popular pressure.”

       105.    On January 21, 2024, Mr. Mashal explained how the protests and slogans of the

American students in the wake of October 7, have renewed and reinvigorated the goals of Hamas

to completely destroy Israel.113

       106.    On March 24, 2024, a group of pro-terror student organizations at Columbia

University hosted an event called “Resistance 101.” Among the invited speakers were Charlotte

Kates (“Kates”), a member of the Israeli-designated terror group (Samidoun), Khaled Barakat

(“Barakat”), a PFLP terrorist leader,114 and Sean Eren (“Eren”), a member of the NSJP steering

committee.




112
    Mario Nawfal (@MarioNawfal), X (formerly Twitter) (Oct. 29, 2023),
https://twitter.com/MarioNawfal/status/1718690673749103082.
113
    Hamas Leader Abroad Khaled Mashal: ‘We Reject The Two-State Solution; October 7
Proved That Liberating Palestine From The River To The Sea Is Realistic And Has Already
Begun’, MEMRI TV (Jan. 22, 2024), https://www.memri.org/reports/hamas-leader-abroad-
khaled-mashal-we-reject-two-state-solution-october-7-proved-liberating.
114
    Canary Mission, Khaled Barakat, https://canarymission.org/individual/Khaled_Barakat, (last
visited Apr. 30, 2024).


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               a.      Mr. Eren, speaking on behalf of NSJP, lamented that he and his friends must
                       worry about being jailed if they so much as contact members of Hamas. He
                       explained that the threat of this scenario constantly looms in front of them.

               b.      Mr. Barakat then told the group that when he speaks with his “friends and
                       brothers in Hamas, the PIJ, the PFLP” and other terrorist organizations
                       operating in Gaza, he learns that the terrorists care more about the
                       support they receive from American students protesting on their behalf
                       than they do about what the President or Vice President of the United
                       States says or does. Mr. Barakat told the group—per his “friends and
                       brothers” in Hamas, the PFLP, and others—that every demonstration
                       American students do matters and that their “work” is more important than
                       ever. Mr. Eren responded with applause and cheers.

               c.      Ms. Kates explained that it was important for everyone to support Hamas
                       because Hamas terrorists took the necessary actions (i.e., raping, murdering,
                       dismembering, and kidnapping innocent men, women, and children) to
                       liberate Palestine. In the words of Ms. Kates, “There is nothing wrong with
                       being a member of Hamas, being a leader of Hamas, being a fighter in
                       Hamas, these are the people that are on the front lines defending Palestine
                       and fighting for its liberation.” Ms. Kates encouraged the audience to fight
                       alongside Hamas. Throughout her soliloquy, Mr. Eren nodded and clapped
                       in support.

       107.    On March 30, 2024, Mr. Barakat gave another interview with Al-Manat TV

(Hizbullah-Lebanon) in which he explained that the protesters in the West, with their chants to

“Free Palestine from the River to the Sea,” are providing popular, political, and media support for

the armed resistance.115

       108.    Both the Islamic Republic of Iran and the PFLP have also issued statements

supporting Defendants and student efforts to support their terrorist allies, including Hamas.116




115
    Canada-Based Former Senior PFLP Official Khaled Barakat On Hizbullah TV: American
And Canadian Protesters Support Armed Resistance, Elimination Of Israel; BDS Serves The
Armed Resistance, But Cannot Substitute It, MEMRI TV(Apr. 5, 2024),
https://www.memri.org/reports/canada-based-former-senior-pflp-official-khaled-barakat-
hizbullah-tv-american-and-canadian.
116
    See Exhibit G.


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I.     CONCERN GROWS OVER DEFENDANTS’ MATERIAL SUPPORT FOR HAMAS

       109.    Defendants’ assistance to Hamas has not gone unnoticed. On October 31, 2023,

Virginia Attorney General Jason Miyares announced that the Office of the Attorney General’s

Consumer Protection Section had “opened an investigation into AJP Educational Foundation, Inc.,

also known as American Muslims for Palestine, for potential violations of Virginia’s charitable

solicitation laws.” Among other things, “the Attorney General will investigate allegations that the

organization may have used funds raised for impermissible purposes under state law, including

benefitting or providing support to terrorist organizations.”117

       110.    In his November 15, 2023, opening statement to the House Ways & Means

Committee Hearing on the Nexus Between Terror Financing, Tax-Exempt Charities, &

Antisemitism,118 Chairman Jason Smith (R-MO) stated:

       Shockingly, a 501(c)(3) entity called American Muslims for Palestine, and its
       related (c)(4), have been sued in federal court for operating as an alter ego of the
       Holy Land Foundation. The two groups have many of the same leaders and may be
       continuing the same efforts to support Hamas.

       Second, the eruption of hatred toward Jewish students on college campuses after
       the October 7th attack has been disturbing to watch. But the organization around it
       is not some organic movement – it has been carefully built over years, in part, by
       American Muslims for Palestine. They helped build, shape, and train a group called
       Students for Justice in Palestine or SJP. Many SJP events have involved pro-Hamas
       slogans and have led to intimidation, harassment, and violence against Jewish
       students.

       111.    Smith further reiterated that

       [o]ne of the radical groups pushing Hamas propaganda and organizing hate-filled
       rallies on college campuses is Students for Justice in Palestine. It’s the student wing
       of American Muslims for Palestine, which has been sued in federal court for
       operating as an alter ego of an organization that funneled $12.4 million from

117
   VA Investigation, supra note 23.
118
   Hon. Jason Smith, Chairman Smith Opening Statement – Hearing on the Nexus Between
Terror Financing, Tax-Exempt Charities, & Antisemitism, COMMITTEE ON WAYS AND MEANS
(Nov. 15, 2023), https://gop-waysandmeans.house.gov/chairman-smith-opening-statement-
hearing-on-connection-between-terror-financing-tax-exempt-charities-antisemitism/.


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       Americans to fund Hamas before it was shut down by the U.S. government back in
       the early 2000s.119

       112.    As Paul Moore, former chief investigative counsel at the U.S. Department of

Education, stated on November 14, 2023, when urging for the removal of SJP chapters from

college campuses, “University administrators are obligated to protect academic freedom and the

free expression of controversial viewpoints, but that obligation must end when student groups

openly engage in intimidation, physical violence, and advocate the destruction of a nation.”120 Mr.

Moore’s sentiment is particularly true when the intimidation, violence, and dissemination of

rhetoric are deliberate ways to provide material support to an FTO.

       113.    On April 22, 2024, in The Wall Street Journal, Steven Stalinsky posited:

       The collaboration between senior terrorists and their growing list of friends in the
       U.S. and the West has real-world consequences. These groups are designated
       terrorist for a reason. They don’t plan marches and rallies—they carry out terrorist
       attacks. And when the U.S. and Western activists, including college students, see
       that their marches and protests aren’t achieving their goals, they may consider their
       next steps—which will be influenced by the company they have been keeping.121

       114.    In short, AMP is simply the reincarnation of IAP and is expressly designed to

substantially assist Hamas. For decades, AMP has provided Hamas a mouthpiece in the United

States just as its prior incarnation, IAP. AMP’s ability to do so has dramatically increased since its

founding of NSJP, which has allowed it to proliferate Hamas’s message across hundreds of college

campuses. Defendants’ propaganda efforts are instrumental to Hamas’s terrorist activities and

ability to remain functional amid Israel’s response.


119
    Hon. Jason Smith, Weekly Capitol Report: Fighting Back Against Antisemitism (Nov. 24,
2023), https://jasonsmith.house.gov/newsroom/documentsingle.aspx?DocumentID=5257.
120
    Paul Moore, All Colleges Should be Banning Students for Justice in Palestine, THE HILL
(Nov. 14, 2023), https://thehill.com/opinion/education/4306667-all-colleges-should-be-banning-
students-for-justice-in-palestine/.
121
    Steven Stalinsky, Who’s Behind the Anti-Israel Protests, WALL ST. J. (Apr. 22, 2024),
https://www.wsj.com/articles/whos-behind-the-anti-israel-protests-hamas-gaza-hezbollah-
talking-points-d2f538ca?st=z6lfo1uohyqbsvk&reflink=article_email_share.


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        115.    These efforts constitute continuous, systematic, and material support for Hamas’s

October 7 terrorist attack and Hamas’s ongoing acts of international terrorism.

J.      THIS LAWSUIT DOES NOT SEEK TO SUPPRESS SPEECH, BUT TO HOLD DEFENDANTS
        LIABLE FOR ACTING AS HAMAS’S MINISTRY OF PROPAGANDA IN THE UNITED STATES

        116.    This case is not about independent political advocacy. It is about organizations

whose very creation was intended to provide continuous, systematic, and substantial assistance to

a Foreign Terrorist Organization and its allies.

        117.    The law distinguishes between those who engage in independent advocacy and

those who are providing a service to FTOs. Defendants do not just assist Hamas but see themselves

as part of the movement Hamas controls—the same movement that attacked Plaintiffs and

continues to attack them to this day. There is no doubt that Defendants fall into the latter category.

        118.    The assistance Defendants provide to Hamas through their propaganda is material,

critical, systematic, and of significant monetary value. In fact, Defendants’ substantial assistance

is invaluable. Hamas is unable by law to retain public relations services in the United States, but

if it could, these services would be prohibitively expensive. For comparison, the state of Qatar

spent $200 million on one lobbying campaign alone in 2017,122 including millions to various public

relations firms.123

        119.    It is not just Defendants’ propaganda that provides substantial assistance to Hamas;

they are similarly responsible for providing Hamas with substantial assistance through their

control, management, and instigation of various acts of domestic terrorism, including violent acts

for the express benefit of Hamas and its allies.


122
    Aruna Viswanatha and Julie Bykowicz, As Qatar Mediates the World’s Disputes, Its U.S.
Lobbying Sows Legal Problems, WALL ST. J. (Jan. 7, 2024), https://www.wsj.com/world/middle-
east/as-qatar-mediates-the-worlds-disputes-its-u-s-lobbying-sows-legal-problems-3a582a9d.
123
    Ben Flanagan, Qatar Lobbyists ‘Paid $4 Million by Mysterious PR Firm’, ARAB NEWS (Jan.
10, 2019), https://www.arabnews.com/node/1433176/middle-east.


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                                  COUNT I
            VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C.§ 2333(d)

        120.    U.S. Plaintiffs repeat and reallege paragraphs 1 through 119.

        121.    Under the Antiterrorism Act, “[a]ny national of the United States injured in his or

her person, property, or business by reason of an act of international terrorism, or his or her estate,

survivors, or heirs, may sue therefor in any appropriate district court of the United States and shall

recover threefold the damages he or she sustains and the cost of the suit, including attorney’s fees.”

18 U.S.C. § 2333(a).

        122.    “[L]iability may be asserted as to any person who aids and abets, by knowingly

providing substantial assistance, or who conspires with the person who committed such an act of

international terrorism.” 18 U.S.C. § 2333(d)(2).

        123.    A defendant may be liable under the Antiterrorism Act even without a “strict nexus”

between the substantial assistance and the act of international terrorism so long as there is “a

foreseeable risk” of such act. Indeed, in some cases, “defendant’s role in an illicit enterprise can

be so systemic that the secondary defendant is aiding and abetting every wrongful act committed

by that enterprise.” See Twitter v. Taamneh, 598 U.S. 471, 495-96 (2023).

        124.    Hamas is a United States designated Foreign Terrorist Organization that

committed, planned, or authorized various acts of international terrorism including its (a) terrorist

attack on October 7th; (b) ongoing rocket attacks against non-military, civilian targets; and (c)

holding innocent civilians hostage.

        125.    For decades, Defendants have provided substantial assistance to Hamas by acting

as its propaganda wing in the United States, recruiting domestic foot soldiers for Hamas, and

fomenting violence, chaos, and fear in the United States to support Hamas’s short and long-term

goals and international terrorist activities.



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         126.    Defendants intentionally instigate a mass culture of fear, threats, violence, and overt

hatred to intimidate politicians and institutions for the benefit of Hamas by organizing, managing,

controlling, and intentionally inciting riots and acts of domestic terrorism as part of its substantial

assistance to Hamas.

         127.    Indeed, Defendants themselves are successor entities to an original material support

enterprise for Hamas. Defendants are operated primarily by many of those who were senior leaders

in the original enterprise.

         128.    Defendants’ substantial assistance of Hamas over a period of decades never ceased

and has been so systematic that Defendants aid and abet every wrongful act committed by Hamas

and its affiliates.

         129.    Since October 7, Defendants have aided and abetted Hamas’s ongoing rocket

attacks and keeping of hostages by engaging in the acts above.

         130.    Defendants knowingly provide substantial assistance to Hamas through their

services. Indeed, in the NSJP Toolkit, Defendants confirm not only that they are aware that their

propaganda and incitement activities support Hamas but also that they perceive themselves as

“PART of” Hamas’s “Unity Intifada”—the terror regime that has damaged U.S. Plaintiffs.

         131.    Defendants knowingly provided substantial assistance to Hamas and thus aided and

abetted Hamas in committing, planning, or authorizing acts of international terrorism, including

the acts of international terrorism that injured U.S. Plaintiffs.

         132.    Not only do these acts constitute “substantial assistance” under the civil portion of

the Antiterrorism Act, but they also satisfy the Antiterrorism Act’s criminalization of providing

“material support or resources” to a Foreign Terrorist Organization. See 18 U.S.C. §§ 2339A and

2339B.




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        133.    U.S. Plaintiffs have been injured in their persons because of Hamas’s acts of

international terrorism.

        134.    By aiding and abetting Hamas in committing, planning, or authorizing acts of

international terrorism, including the acts that caused each of the U.S. Plaintiffs to be injured in

his or her person and property, Defendants are liable pursuant to 18 U.S.C. § 2333(d) for, threefold

any and all, damages that U.S. Plaintiffs have sustained as a result of such injuries, and the costs

of this suit, including attorney's fees.

                                   COUNT II
               VIOLATION OF THE ALIEN TORT STATUTE, 28 U.S.C. § 1350

        135.    Israeli Plaintiffs repeat and reallege paragraphs 1 through 119.

        136.    Israeli Plaintiffs are aliens under the Alien Tort Statute (“ATS”). 28 U.S.C. § 1350.

        137.    Israeli Plaintiffs were damaged from Hamas’s October 7 terrorist attack and its

ongoing terrorist activities directed at civilians, including Israeli Plaintiffs.

        138.    Defendants provided Hamas with material support despite knowledge of Hamas’s

terrorist activity both before, during, and after its October 7 terrorist attack.

        139.    Defendants are also liable under aiding and abetting liability under Articles 2.5(a)

and Article 2.5(c)(ii) because Hamas committed acts prohibited by the International Convention

for the Suppression of the Financing of Terrorism, which recognizes aiding and abetting liability,

and Defendants participated in those acts as accomplices (Article 2.5(a)).

        140.    Thus, under the ATS, Defendants are liable for all damages that Israeli Plaintiffs

have sustained because of Defendants’ tortious actions.

                                           JURY DEMAND

        141.    Under Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury on all claims so triable.




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                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray that this Court:

      (a)   Enter judgment against Defendants and for each Plaintiff for compensatory
            damages in amounts to be determined at trial;

      (b)   Enter judgment against Defendants and for each U.S. Plaintiff for treble damages
            pursuant to 18 U.S.C. § 2333(d)(2);

      (c)   Enter judgment against the Defendants and for each Israeli Plaintiff for any and all
            relief as appropriate, including damages and attorney fees, under 28 U.S.C. § 1350;

      (d)   Enter judgment against the Defendants and for each U.S. Plaintiff for any and all
            relief as appropriate, for negligent infliction of emotional distress; and

      (e)   Grant such other and further relief as justice requires.




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Date: May 1, 2024                            Respectfully Submitted,

                                             Counsel for Plaintiffs Maya Parizer, Ariel Ein-Gal,
                                             Hagar Almog, Adin Gess, Noach Newman, Natalie
                                             Sanandaji, Yoni Diller, David Bromberg, and Lior
                                             Bar Or

                                             By:     /s/ Jason Torchinsky
                                                     JASON TORCHINSKY

 GREENBERG TRAURIG, LLP                        HOLTZMAN VOGEL BARAN
                                               TORCHINSKY & JOSEFIAK, PLLC
 SCOTT BORNSTEIN*                              JASON TORCHINSKY
 bornsteins@gtlaw.com                          Va. Bar No. 47481
 RICHARD EDLIN*                                jtorchinsky@holtzmanvogel.com
 edlinr@gtlaw.com                              JONATHAN FAHEY
 RICHARD ROSENBAUM*                            Va. Bar No. 44854
 rosenbaumr@gtlaw.com                          jfahey@holtzmanvogel.com
 HAL SHAFTEL*                                  ERIELLE DAVIDSON*
 shaftelh@gtlaw.com                            edavidson@holtzmanvogel.com
 One Vanderbilt Avenue                         2300 N. Street NW, Suite 643
 New York, New York 10017                      Washington D.C. 20037
 T. 212.801.9200                               T. 202.737.8808
 F. 212.801.6400                               F. 540.341.8809


 GREENBERG TRAURIG, P.A.                       NATIONAL JEWISH ADVOCACY
 BRADFORD KAUFMAN*                             CENTER
 777 South Flagler Drive, Suite 300 East       MARK GOLDFEDER*
 West Palm Beach, Florida 33401                mark@jewishadvocacycenter.org
 T. 561.650.7900                               BEN SCHLAGER*
 F. 561.655.6222                               ben@jewishadvocacycenter.org
 kaufmanb@gtlaw.com                            ANAT BECK*
                                               Anat@jewishadvocacycenter.org
 and                                           National Jewish Advocacy Center, Inc.
                                               International Legal Forum
 ZACHARY NEEDELL*                              1718 General George Patton Drive
 401 East Las Olas Boulevard, Suite 2000       Brentwood, TN 37027
 Fort Lauderdale, Florida 33301                T (800) 269-9895
 T. 954.765.0500                               F (800) 758-5232
 F. 954.765.1477
 zachary.needell@gtlaw.com                     LAW OFFICES OF
                                               DAVID SCHOEN

                                               DAVID SCHOEN*
                                               2800 Zelda Road, Suite 100-6



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                                            Montgomery, Alabama 36106
                                            T. 334.395.6611
                                            F. 917.591.7586
                                            schoenlawfirm@gmail.com

 * – Pro Hac Vice Application Forthcoming




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